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                                 Claimant GOTHAM INSURANCE
                             9   COMPANY and Specially Appearing
                                 Defendant PROSIGHT SPECIALTY
                         10
                                 MANAGEMENT COMPANY, INC.
                         11
                                                                      UNITED STATES DISTRICT COURT
                         12
                                                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                         13
                                 SIGMA FINANCIAL                                     Case No. 8:15-cv-1531-AG-DFM
                         14
                                 CORPORATION,
                                                                                     REPLY IN SUPPORT OF
                         15      a Michigan corporation,
                                                                                     MOTION TO DISMISS SECOND
                         16                                     Plaintiff,           AMENDED COMPLAINT
                         17                   v.
                                                                                     [Fed. R. Civ. P. 9(b), 12(b)(6)]
                         18      GOTHAM INSURANCE COMPANY,
                         19
                                 a New York corporation; BROWN &                     Date:    October 31, 2016
                                 BROWN PROGRAM INSURANCE                             Time:    10:00 a.m.
                         20      SERVICES, INC., D/B/A                               Judge:   Hon. Andrew Guilford
                         21
                                 CALSURANCE ASSOCIATES, a                            Place:   Courtroom 10D
                                 California Corporation; CADENCE                              411 West Fourth Street
                         22      INSURANCE BROKERS, INC., a                                   Santa Ana, CA 92701
                         23
                                 Tennessee corporation, PROSIGHT
                                 SPECIALTY MANAGEMENT
                         24      COMPANY, INC., a New York
                         25
                                 corporation

                         26
                                                                Defendants.

                         27
                                 AND RELATED CROSS-CLAIM
                         28
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                              1   I.           INTRODUCTION
                              2                The Court recently characterized its decision to allow Sigma to assert new
                              3   claims against Gotham and ProSight in this litigation as “very generous.” Despite
                              4   that latitude, Sigma has chosen to bring claims based on non-existent facts or law
                              5   that does not apply to the facts that do exist.
                              6                For instance, Sigma tries to bring an insurance bad faith claim against
                              7   Gotham despite the fact that the Court has expressly found that no insurance
                              8   contract benefits are owed by Gotham to Sigma as a matter of law. While Sigma
                              9   argues that its bad faith claim can survive “independent of the contract” (Dkt. 85 at
                             10   2), that is simply not correct under California law. In fact, it is well settled in
                             11   California that a bad faith claim must arise out of a breach of the insurance contract
                             12   and no such claim can lie where no policy benefits have been withheld. Waller v.
                             13   Truck Ins. Exch., Inc., 11 Cal.4th 1, 35-36 (1995), as modified on denial of reh’g
                             14   (Oct. 26, 1995) (an insurer cannot be liable for bad faith where no “policy benefits,”
                             15   not just insurance coverage, are due).
                             16                Sigma also argues that fraud and negligence claims are proper despite the
                             17   plain and unambiguous terms of the insurance contract that it purchased because it
                             18   should not be charged with knowledge of those terms. However, the legal principle
                             19   on which Sigma purports to rely to make this argument applies only to
                             20   unrepresented, lay, individual insurance purchasers and -- even then -- only under
                             21   unique circumstances. Gemini Ins. Co. v. W. Marine Ins. Servs. Corp., 2016 WL
                             22   3418413, at *10 (E.D. Cal. June 22, 2016); Omni Home Fin., Inc. v. Hartford
                             23   Life & Annuity Ins. Co., 2008 WL 4616796, at *3 (S.D. Cal. Aug. 1, 2008). Here,
                             24   the factors required to deviate from the general rule do not exist. Sigma is not even
                             25   close to a lay insured but is a sophisticated financial services firm with billions of
                             26   dollars under management that was represented by an experienced and
                             27   sophisticated insurance broker in the negotiation and purchase of the Gotham
                             28   Excess Policy. Sigma and CalSurance are not entities that the law permits -- under
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                              1   narrow circumstances not present here -- to claim ignorance of contract terms.
                              2   Instead, Sigma is charged with knowing and understanding clear contract terms like
                              3   those at issue in this case.
                              4                Sigma then ignores law that says that -- even if the Gotham Excess Policy
                              5   does not provide the coverage for which Sigma applied -- there was no completed
                              6   contract between the parties (again, with Sigma being represented by an
                              7   experienced broker) until Sigma accepted the contract. Rios v. Scottsdale Ins. Co.,
                              8   119 Cal.App.4th 1020 (2004). It is the terms of the agreement that Sigma accepted
                              9   and for which it paid that are the terms of the contract between the parties. The fact
                             10   is, Rios is dispositive of Sigma’s fraud and negligence claims. See id. at 1029.
                             11                Finally, Sigma argues that Gotham and ProSight are vicariously liable for the
                             12   professional negligence of defendants Cadence and CalSurance. But that claim is
                             13   undercut by the most fundamental rule of agency law: A principal is only
                             14   vicariously liable for acts that were within the scope of an agent’s authority. Civil
                             15   Code §§ 2330, 2339. Here, CalSurance was never Gotham’s or ProSight’s agent
                             16   and Sigma does not deny that fact in its Opposition. While Sigma does allege an
                             17   agency agreement between ProSight and Cadence (Dkt. 37-2), that contract
                             18   specifically prohibits Cadence from binding Gotham to contract terms that are
                             19   different than the terms that Gotham has offered. Whether Cadence and
                             20   CalSurance are liable to Sigma for professional negligence is irrelevant to whether
                             21   any claims can be maintained against Gotham or ProSight. The critical fact is that,
                             22   even assuming the truth of Sigma’s allegations, neither Gotham nor ProSight can be
                             23   vicariously liable for the alleged negligence of either broker as a matter of law.
                             24   II.          DISCUSSION
                             25                A.            Bad Faith Cannot Exist Without A Deprivation Of Policy Benefits
                             26                In trying to maintain its insurance bad faith claim in this action, Sigma adopts
                             27   the “ostrich defense” strategy and simply refuses to acknowledge the well-
                             28   established rule that an insurer cannot be liable for bad faith where no “policy
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                              1   benefits” are due. Waller v. Truck Ins. Exch., Inc., 11 Cal.4th at 35-36; Love v. Fire
                              2   Ins. Exch., 221 Cal.App.3d 1136, 1151-53 (1990). Generally, as here, this rule
                              3   arises in the context of a coverage dispute. However, given the resolution of
                              4   Sigma’s coverage claims on summary judgment, Sigma is now attempting to morph
                              5   the concept of “policy benefits” into a term that means “insurance coverage
                              6   benefits.” There is no such rule of law. All of the cases that Sigma cites to support
                              7   this argument are pre-Waller lower court decisions that find that, in rare and
                              8   “unusual circumstances,” a carrier may be liable in tort “despite the fact that [an]
                              9   insurance contract [does] not provide for coverage” but the carrier nevertheless
                             10   breaches the contract in some other regard. Murray v. State Farm Fire & Cas.
                             11   Co., 219 Cal. App. 3d 58, 65-66 (1990). In fact, if Sigma had actually read the
                             12   cases on which it relies, it would have realized that they actually underscore the
                             13   lack of merit to its bad faith claim. (See Dkt. 85 at 10.)
                             14                For example, in Murray, supra, even though there was no coverage under the
                             15   policy at issue, the policyholder could not maintain a bad faith claim based on an
                             16   argument that the carrier had breached its obligation to conduct an investigation
                             17   before denying coverage. 219 Cal.App.3d at 65-66. The court there held that “the
                             18   fact that the investigation yielded a correct conclusion precludes any claim that the
                             19   [alleged] inadequacy caused any damage.” Id. Thus, the actual holding of Murray
                             20   does not help Sigma at all. In any event, unlike Murray, Sigma has not alleged that
                             21   Gotham or ProSight failed to investigate. Indeed, all of Sigma’s allegations about
                             22   ProSight and Gotham relate to conduct that is extrinsic to obligations under the
                             23   Gotham Excess Policy. Such allegations cannot support a bad faith claim. The
                             24   unambiguous terms of the policy control the parties’ rights and obligations and, in
                             25   the absence of any allegation that Sigma was deprived of its “policy benefits” under
                             26   that contract, a bad faith claim cannot exist as a matter of law.
                             27                In Judah v. State Farm Fire & Cas. Co., 227 Cal. App. 3d 1133, 266 Cal.
                             28   Rptr. 455, review granted and opinion superseded, 789 P.2d 341 (Cal. 1990) -- a
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                              1   de-published and improperly cited decision with no precedential value whatsoever
                              2   (see Cal. Rule of Ct. 8.1105(e)) -- the court held that, even though there was no
                              3   coverage under the policy at issue, the insurer had assumed the policyholder’s
                              4   defense under that policy and then failed to “conduct that defense with the same
                              5   duty of care as if there were no coverage dispute.” Judah, supra, 266 Cal.Rptr. at
                              6   464 (citation to the California Reporter required given de-publication of the
                              7   decision); see also Travelers Ins. Co. v. Lesher, 187 Cal.App.3d 169 (1986) (also
                              8   cited by Sigma and involving a similar failure-to-adequately-defend claim).1 Here,
                              9   there are no facts or allegations that Gotham defended a claim but did so
                             10   inadequately. Instead, Gotham has continuously taken the position that it has no
                             11   defense obligation whatsoever unless and until the primary policy pays at least $10
                             12   million in covered claims, a position with which this Court has agreed. The Court
                             13   need only look at Sigma’s second amended complaint to confirm this fact, as that
                             14   pleading does not allege that Gotham and/or ProSight had or assumed any
                             15   obligation under the policy and then failed to discharge it with appropriate care.
                             16                According to the operative pleading in this case, Sigma’s bad faith claim is
                             17   apparently now based on an allegation that Sigma purchased less insurance than it
                             18   wanted. That allegation is simply not a claim that Gotham or ProSight deprived
                             19   Sigma of any benefits under the contract that was issued. The Court gave Sigma a
                             20   chance to bring new contract-based claims but it is now clear that Sigma cannot do
                             21   so without violating Rule 11. (See Dkt. 68 at 4 (declining to rule on Gotham’s
                             22   1
                                           The other cases cited by Sigma are likewise unavailing. See Bodenhamer v. Superior
                             23   Court, 192 Cal.App.3d 1472, 1479 (1987) (where the insured alleged that the insurer
                                  “intentionally misrepresented its own assessment of the validity of customer claims, delayed
                             24   settlement of those claims in bad faith, and caused injury to the good will” of the insured); Carma
                                  Developers (Cal.), Inc. v. Marathon Dev. California, Inc., 2 Cal. 4th 342, 373 (1992) (a non-
                             25
                                  insurance case that Sigma quoted and then misrepresented by ignoring the footnoted portion of its
                             26   quoted language: “This assumes of course we are dealing with breach of the covenant of good
                                  faith in the traditional contract sense and not as a tort. [Citation omitted.] As a tort, a separate
                             27   breach of the covenant of good faith and fair dealing would introduce the possibility of tort
                                  remedies and even punitive damages. However, no claim has been made here of a tortious
                             28   breach”).
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                              1   motion for summary judgment on the bad faith claim until Sigma’s new predicate
                              2   claims had been filed).) There is no support for Sigma’s assertion that a bad faith
                              3   claim can exist “independent of the contract” (Dkt. 85 at 2) and, respectfully, it
                              4   would be reversible error for the Court to adopt this incorrect interpretation of
                              5   California law. Therefore, the bad faith claim must be dismissed with prejudice.
                              6                B.            Sigma Was Not Defrauded By Clear Contract Terms
                              7                The gist of Sigma’s new claim for fraud is that Gotham and ProSight
                              8   concealed the unambiguous terms of the Gotham Excess Policy because Sigma
                              9   (and its broker) failed to read or appreciate the premium indication (which
                             10   expressly set forth the “coverage offered” by Gotham) and the policy itself (the
                             11   terms of which this Court has deemed unambiguous). The argument that Sigma
                             12   makes to support this fraud claim contradict California law and the Court’s
                             13   previous ruling on Sigma’s coverage claims.
                             14                Sigma principally relies on Raulet v. Northwestern Nat’l Ins. Co., 157 Cal.
                             15   213, 230 (1910), which, on average, is only cited once every two years and
                             16   recognizes that lay insureds may not be aware of all of the fine print in long,
                             17   complicated insurance policies that are prepared by experienced insurance
                             18   professionals without any input from the policyholder. While Gotham does not
                             19   dispute that, under certain circumstances, courts may relax the rule that insureds are
                             20   absolutely bound by the terms of their insurance contracts, Raulet has no bearing on
                             21   this case because it does not involve an unsophisticated insured or a complicated
                             22   insurance contract. Indeed, the proper analysis focuses entirely on the contract
                             23   language in question and whether the insured in question should be expected to
                             24   understand it. In Omni Home Fin., Inc. v. Hartford Life & Annuity Ins. Co., 2008
                             25   WL 4616796, at *3, the Southern District considered a “reasonable reliance” claim
                             26   like Sigma’s and found that Raulet was inapplicable because the material terms
                             27   “were in short documents easily intelligible to [the] plaintiffs, who were reasonably
                             28   sophisticated businesspeople.” Id. Several months ago, the Eastern District agreed
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        LLP                                                                             REPLY IN SUPPORT OF MOTION TO DISMISS
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                              1   with Omni and held that Raulet only “addresses the case of an individual lay
                              2   consumer and not a business entity or an expert well versed in insurance policies.”
                              3   Gemini Ins. Co. v. W. Marine Ins. Servs. Corp., 2016 WL 3418413, at *10. Gemini
                              4   specifically held that any Raulet-type of relief is unavailable where the contracts at
                              5   issue are purchased through an insured’s broker because those circumstances
                              6   “cannot reasonably be compared to a lay policyholder without knowledge of how
                              7   an insurance policy works.” Id.2
                              8                Obviously, this case is in line with Omni and Gemini, not Raulet. For one
                              9   thing, this is not a “fine print” type of case. Tellingly, Sigma is not claiming that
                             10   the policy language is hidden or complicated and that it could not have understood
                             11   the language at issue if it has simply read the contract. The truth is, the trigger and
                             12   limits are typically the most important provisions in an excess insurance policy so
                             13   they are provisions that Sigma should have immediately read and the Court has
                             14   already held that the Gotham Excess Policy prominently, clearly and
                             15   unambiguously provides excess insurance over the $10 million general aggregate
                             16   limit of the underlying primary policy. (Dkt. 53.) Moreover, the Gotham Excess
                             17   Policy is a follow-form policy that is a relatively short contract because the
                             18   coverage provisions are set forth in and controlled by the primary policy. (See Dkt.
                             19   81-5.) For another thing, Sigma cannot argue that it is comparable to a non-
                             20   corporate, unrepresented, lay insurance purchaser. Sigma is a “huge” investment
                             21   and financial services firm with nearly 700 registered representatives, billions of
                             22   dollars of assets under management and more than $50 million of annual revenue
                             23   (see Dkt. 81-3) and it was represented by an experienced, sophisticated insurance
                             24   broker (CalSurance) in connection with its purchase of the Gotham Excess Policy.
                             25
                                  2
                             26          Sigma also relies on Butcher v. Truck Ins. Exch., 77 Cal.App.4th 1442, 1464 (2000) to
                                  support its argument that an alleged “disparity in knowledge may impose an affirmative duty of
                             27   disclosure on the insurer or its agent.” (Dkt. 85 at 15.) Butcher also involved a lay insured that
                                  was not represented by an insurance broker and, therefore, has no application here in light of
                             28   Omni and Gemini.
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                              1                While Sigma would have loved to have the Court ignore the language of the
                              2   insurance policy at issue here, it did not do so and Sigma is forced to argue that it
                              3   did not know what it had agreed to because it did not read its policy. This argument
                              4   is, with all respect due, ridiculous where a clear and unambiguous contract was
                              5   provided to Sigma and to its broker, was in their possession at all relevant times and
                              6   is the same version of the contract to which Sigma agreed when t paid its premium.
                              7   Under the law, Gotham and ProSight cannot be liable for fraud because (1) no
                              8   material terms of the excess insurance policy that Gotham offered to Sigma (see
                              9   Dkt. 35-3) and that Sigma subsequently purchased (see Dkt. 81-5) were concealed,
                             10   (2) it is undisputed that the unambiguous terms of the coverage offered and
                             11   purchased by Sigma were disclosed to Sigma and its sophisticated agent,
                             12   CalSurance, and, (3) without any concealment or fraudulent intent, the reasonable
                             13   reliance element of Sigma’s fraud claim cannot exist. Northrop Grumman Corp. v.
                             14   Factory Mut. Ins. Co., 2011 WL 4501945, at *4 (C.D. Cal. Sept. 28, 2011);
                             15   Guerard v. CNA Fin. Corp., 2009 WL 3152055 at *5 (N.D. Cal. Sept. 23, 2009).
                             16   Accordingly, Sigma’s fraud claim must be dismissed with prejudice.
                             17                C.            Even If The Contract Differed From What Was Requested On
                                                             Sigma’s Application, Sigma Accepted The Policy As Written
                             18

                             19                For obvious reasons, Sigma almost completely ignored the bold and
                             20   italicized portion of the motion to dismiss concerning hornbook offer and
                             21   acceptance principles in the insurance context. (See Dkt. 79-1 at 11.) In fact, the
                             22   only response Sigma offered to that dispositive argument was one sentence:
                             23   “Gotham’s assertion that it made a ‘counteroffer’ by issuing a policy other than that
                             24   requested by Sigma . . . is without merit.” (Dkt. 85 at 18.) There is no explanation
                             25   or support in Sigma’s Opposition for this “argument.” Suffice it to say, Rios v.
                             26   Scottsdale Ins. Co., 119 Cal.App.4th 1020 (2004) is directly on point and, for the
                             27   reasons discussed at length in the motion to dismiss (see Dkt. 79-1 at 9-11),
                             28   requires the dismissing Sigma’s fraud and negligence claims.
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                              1                D.            Sigma’s Vicarious Liability Claim Is Improper
                              2                Sigma argues that Cadence and CalSurance were the agents of everyone else
                              3   that Sigma wants to be part of this litigation (Gotham, ProSight and Sigma) such
                              4   that, for some unexplained reason, Gotham and ProSight are vicariously liable to
                              5   Sigma for the alleged negligence of CalSurance and Cadence. This legal
                              6   conclusion (i.e., that Cadence and CalSurance were “agents” of Gotham and
                              7   ProSight) must be disregarded on a motion to dismiss. Ashcroft v. Iqbal, 556 U.S.
                              8   662, 678 (2009). Even more problematically, Sigma’s claim ignores the most
                              9   fundamental principle of agency law -- that a principal can only be liable for its
                             10   agent’s authorized acts (see Civil Code § 2330) -- and, because none of the
                             11   allegations underlying Sigma’s claims against Cadence or CalSurance was
                             12   authorized by Gotham of ProSight, the claim must be dismissed.
                             13                While Sigma baldly alleges that CalSurance was an agent of Gotham and
                             14   ProSight, this is simply not true. Sigma tries to gloss over its reckless allegation in
                             15   its Opposition but the fact is that CalSurance represented Sigma and only Sigma
                             16   with respect to the Gotham Excess Policy and had neither actual nor ostensible
                             17   authority to bind Gotham or ProSight in any respect (particularly to insurance
                             18   coverage that Gotham had not offered or issued to Sigma). Further eroding
                             19   Sigma’s argument on this issue is the fact that Sigma’s primary allegation against
                             20   CalSurance is that it failed to read the Gotham Excess Policy and deliver the
                             21   coverage that Sigma purportedly requested. Holding Gotham vicariously liable for
                             22   CalSurance’s failure to read Sigma’s policy would only lead to an absurd result (is
                             23   Sigma really claiming that Gotham did not read the policy?). Accordingly, neither
                             24   Gotham nor ProSight can be vicariously liable for CalSurance’s alleged negligence.
                             25   Civil Code §§ 2330, 2339.
                             26                With respect to Cadence, Sigma relies on the ProSight/Cadence agency
                             27   agreement, arguing that it “was before the Court” previously and is undisputed.
                             28   (Dkt. 85 at 17.) Gotham does not dispute that there was an agency agreement with
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        LLP                                                                                REPLY IN SUPPORT OF MOTION TO DISMISS
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                              1   Cadence (unlike CalSurance). But Sigma ignores the fact that the agency
                              2   agreement to which it points specifies the scope of Cadence’s agency: Cadence
                              3   may “procure . . . applications for insurance policies to be issued by [ProSight] . . .
                              4   through Gotham Insurance Company[,]” “receive applications for insurance risks
                              5   [Cadence is] licensed to solicit, and submit them to [ProSight] for approval” and
                              6   “deliver policies that [ProSight] may issue.” (Dkt. 37-2 at 2.) The agency
                              7   agreement expressly prohibits Cadence from “exceed[ing] the scope of [its]
                              8   authority” and from “alter[ing] or chang[ing] any provision of any policy” that
                              9   Gotham may issue through ProSight. (Id. at 3.) Simply stated, Cadence was only
                             10   authorized to accept applications for insurance and then issue the policies that
                             11   ProSight and Gotham were willing to offer on the terms that ProSight and Gotham
                             12   were willing to offer. See Civil Code § 2330. Gotham offered such a policy and
                             13   Sigma accepted it. It is that insurance policy that this Court has already ruled
                             14   clearly owes no obligation to Sigma.
                             15                Even if Cadence thought that the Gotham Excess Policy provided different
                             16   insurance than was unambiguously set forth in the premium indication and in the
                             17   policy itself, and even if Cadence’s comment on the July 18, 2012 memorandum
                             18   contradicted the Gotham Excess Policy (a point that Gotham and ProSight
                             19   vigorously dispute), neither Gotham nor ProSight could be liable for Cadence’s
                             20   alleged mistake because it would be outside the scope of Cadence’s agency. An
                             21   agent only represents its principal with respect to acts within the scope of its actual
                             22   or ostensible authority. Civil Code §§ 2330, 2339. Here, Sigma does not and
                             23   cannot dispute that Cadence had no “actual” authority for Cadence’s
                             24   representations (had it made any) regarding coverage under the Gotham Excess
                             25   Policy (Dkt. 37-2), so Sigma’s agency claim cannot survive on that theory, either.
                             26   “Ostensible” authority, on the other hand, requires a direct statement or suggestion
                             27   from ProSight or Gotham to Sigma that led Sigma to believe that Cadence could
                             28   offer, change, alter or even interpret the terms of the insurance that Gotham had
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        LLP                                                                          REPLY IN SUPPORT OF MOTION TO DISMISS
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                              1   offered to Sigma. Civil Code § 2330; CACI 3709. No such allegations have been
                              2   made in this case (Dkt. 81). In any event, Sigma’s claim cannot survive because if
                              3   Sigma had made any allegations to that effect it would have violated Rule 11.
                              4   Therefore, although Cadence may or may not be liable to Sigma (time will tell),
                              5   Gotham and ProSight certainly cannot be held vicariously liable for Cadence’s
                              6   alleged misconduct because it could not be within the scope of Cadence’s agency.
                              7   III.         CONCLUSION
                              8                The Court has generously provided several lifelines to Sigma since this case
                              9   was filed in September 2015. The new claims and theories in Sigma’s latest
                             10   pleading -- brought only after the Court awarded summary judgment against Sigma
                             11   on virtually all of its other claims -- are no more meritorious than its original
                             12   coverage claims (otherwise they would have been filed over a year ago). Because
                             13   there are no policy benefits due under the Gotham Excess Policy, because there was
                             14   no fraud or negligence as a matter of law (at least by Gotham or ProSight) and
                             15   because neither Gotham nor ProSight can be held vicariously liable for the actions
                             16   of CalSurance (at all) or Cadence (under the facts alleged in this case), Sigma’s
                             17   claims against Gotham and ProSight should be dismissed with prejudice.
                             18

                             19   Dated: October 17, 2016                            HOGAN LOVELLS US LLP

                             20                                                      /s/ Mark C. Goodman
                             21                                                      Mark C. Goodman
                                                                                     Attorneys for Defendant and
                             22                                                      Counter/Cross-Claimant GOTHAM
                             23                                                      INSURANCE COMPANY and
                                                                                     Specially Appearing Defendant
                             24
                                                                                     PROSIGHT SPECIALTY
                             25                                                      MANAGEMENT COMPANY, INC.
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        LLP                                                                            REPLY IN SUPPORT OF MOTION TO DISMISS
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